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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TERESA LINK,

            Plaintiff,                           Case No. 17-cv-10844

v.                                               Paul D. Borman
                                                 United States District Judge
RECOVERY SOLUTIONS
GROUP, L.L.C.,

          Defendant.
___________________________/

                                 JUDGMENT

      For the reasons stated in an Opinion and Order entered this day, it is

ORDERED AND ADJUDGED that Plaintiff’s Renewed Motion for Default Judgment

is GRANTED and Judgment is entered in favor of Plaintiff and against Defendant in

the amount of $27,057.00, and this action is DISMISSED.



                                                 s/Paul D. Borman
                                                 Paul D. Borman
                                                 United States District Judge

Dated: April 27, 2018
